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 5
                                   UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
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 8
     UNITED STATES OF AMERICA,           )
 9                                       )
                                         )
10                     Plaintiff,        )                2:15-cr-00014-APG-VCF
                 vs.                     )
11                                       )
     OMAR QAZI,                          )
12                                       )
                       Defendant.        )                 ORDER
13   ____________________________________)
14
                    On August 6, 2015, this Court granted the defendant’s right to represent himself and
15
     that the Court will appoint CJA stand by counsel, as stated on the record.
16
                    Accordingly, IT IS HEREBY ORDERED that Jennifer Waldo, is APPOINTED as
17
     stand by counsel for Omar Qazi in place of The Federal Public Defender for all future proceedings.
18
                    The Federal Public Defender’s office shall forward the file to Ms. Waldo forthwith.
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20
                    DATED this 10th         day of August, 2015.
21
                    NUNC PRO TUNC DATE: August 7, 2015.
22
23
24                                                        ___________________________________
                                                          UNITED STATES DISTRICT JUDGE
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